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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA
                                 NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                            MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                   SECTION “N-4"
                                                               JUDGE ENGELHARDT
                                                               MAG. JUDGE ROBY

                      THIS DOCUMENT IS RELATED TO ALL CASES

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               DEFENDANT UNITED STATES OF AMERICA’S MOTION
              TO DISMISS PLAINTIFFS’ FTCA AND CONTRACT CLAIMS
                  FOR LACK OF SUBJECT MATTER JURISDICTION

        Defendant, United States of America (United States) hereby moves and request, pursuant

to Fed. R. Civ. P. 12(b)(1), or alternatively Fed. R. Civ. P. 56(c), dismissal of Plaintiffs’ Federal

Tort Claims Act claims (Count 2) and contract claims (Counts 1 and 3) for lack of subject matter

jurisdiction. The following issues are presented by the United States' Motion:

        1.      Whether the Federal Tort Claims Act (FTCA), 28 U.S.C. §§1346(b),
                2671-80, and Robert T. Stafford Disaster Relief and Emergency
                Assistance Act (Stafford Act), 42 U.S.C. §5121, et. seq., discretionary
                function exceptions bar Plaintiffs’ Count 2 FTCA claims challenging the
                Federal Emergency Management Agency’s (1) decision to use travel
                trailers, park model trailers and mobile homes as temporary emergency
                housing for Hurricane Katrina and Rita disaster victims, and (2) actions in
                response to complaints and concerns about occupants potential exposure to
                formaldehyde in temporary emergency housing units. See 28 U.S.C.
                §2680(a); 42 U.S.C. §5148.

        2.      Whether the Court lacks subject matter jurisdiction over Plaintiffs’ Count
                1 claim for breach of implied and/or express contracts arising out of the
                Federal Emergency Housing Agency’s lease of allegedly defective
                temporary emergency housing units, i.e., travel trailers, park model trailers
                and mobile homes, to Hurricane Katrina and Rita disaster victims. See
                Little Tucker Act, 28 U.S.C. §1346(a)(2); Tucker Act, 28 U.S.C. §1491(a).

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        3.      Whether the Court lacks subject matter jurisdiction over Plaintiffs’ Count
                3 claims for breach of implied and/or express contract arising out of the
                Federal Emergency Housing Agency’s alleged sale of allegedly defective
                temporary emergency housing units, i.e., travel trailers, park model trailers
                and mobile homes, to Hurricane Katrina and Rita disaster victims. See 41
                U.S.C. §§602(a)(4), 609(a)(1); 28 U.S.C. §1346(a)(2).

        The Court should grant this Motion for the reasons set forth in the attached Memorandum

filed in support hereof, and Exhibits filed concurrently herewith.

        United States hereby further requests oral argument on this Motion because it believes

that such argument will assist the Court in addressing and resolving issues presented by this

Motion.

Dated: May 18, 2008.                          Respectfully Submitted,

                                              GREGORY S. KATSAS
                                              Assistant Attorney General, Civil Division

                                              C. FREDERICK BECKNER III
                                              Deputy Assistant Attorney General, Civil Division

                                              J. PATRICK GLYNN
                                              Director, Torts Branch, Civil Division

                                              MICHELLE BOYLE
                                              Trial Attorney

OF COUNSEL                                    //S// Henry T. Miller
                                              HENRY T. MILLER (D.C. Bar No. 411885)
JORDAN FRIED                                  Senior Trial Counsel
Associate Chief Counsel                       United States Department of Justice
JANICE WILLIAM-JONES                          Civil Division – Torts Branch
Trial Attorney                                P.O. Box 340, Ben Franklin Station
FEMA/DHS                                      Washington, D.C. 20004
Department of Homeland Security               Telephone No: (202) 616-4223
Washington, D.C. 20472                        E-mail: Henry.Miller@USDOJ.Gov

                                              Attorneys for the United States of America


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2008, the foregoing Motion, Memorandum, Declaration,

and Exhibits in support thereof, were filed via the U.S. District Court’s CM/ECF electronic filing

system a copy thereof was served upon Liaison Counsel.

                                             //S// Henry T. Miller
                                             HENRY T. MILLER (D.C. Bar No. 411885)




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